
663 S.E.2d 318 (2008)
SANDY MUSH PROPERTIES, INC. and Florida Rock Industries, Inc.
v.
RUTHERFORD COUNTY, by and through The RUTHERFORD COUNTY BOARD OF COMMISSIONERS.
No. 67PA07-2.
Supreme Court of North Carolina.
June 11, 2008.
Roy H. Michaux, Jr., Charlotte, Ann M. Anderson, for Sandy Mush Properties.
Forrest A. Ferrell, Warren. Hutton, Stephen L. Palmer, Hickory, Walter H. Dalton, Elizabeth Thomas Miller, Rutherfordton, for Rutherford County.
Prior report: 181 N.C.App. 224, 638 S.E.2d 557.

ORDER
Upon consideration of the second petition filed on the 22nd day of January 2008 by Plaintiffs in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 11th day of June 2008."
Plaintiffs shall forthwith submit an appeal bond to this Court, as provided by Appellate Rule 17(b). The bond may be in cash or by a written undertaking with good and sufficient surety in the sum of $250.00.
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
